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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA


             v.

 FRANK RAFARACI,
          Defendant.

                   AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Special Agent Cordell DeLaPena, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

       1.         I am a Special Agent with the Department of Defense, Office of Inspector General,

Defense Criminal Investigative Service (“DCIS”), European Resident Agency. I have been so

employed since August 2012. Prior to my employment with DCIS, I was a Special Agent with the

U.S. Department of the Interior, Office of Inspector General for approximately four years. As a

Special Agent with the Departments of Defense and Interior, I have received training and

participated in numerous in financial and white-collar criminal investigations, and I have

personally conducted or assisted in complex financial fraud investigations involving allegations of

bribery, kickbacks, public corruption, conspiracy, money laundering, mail and wire fraud, fraud

against the United States, and antitrust violations. I have received specialized training in the

investigation of various financial and white-collar crimes, and I have personally conducted or

assisted in the investigation of violations of U.S. law, including health care fraud, bribery, public

corruption, and money laundering violations.

       2.         From my work with DCIS, I have become familiar with the ways in which U.S.

military and civilian agencies procure goods and services, including the types of authorizations

and records that are required for these agencies to purchase goods and services. I have prepared
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affidavits to support the establishment of probable cause for search and arrest warrants. I am

familiar with the facts set forth below based upon my own investigative findings and conversations

with other participating law enforcement agents.

       3.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit that there is probable cause to believe that FRANK RAFARACI

(“RAFARACI”), a United States citizen who resides primarily in the United Arab Emirates

(“UAE”) and Italy, and has served as the Chief Executive Officer of Multinational Logistics

Services (“MLS”) since in or around 2005, and others, have committed violations of the following

statutes: 18 U.S.C. § 371 (conspiracy to commit bribery),

                                          and 18 U.S.C. § 1956(h) (conspiracy to commit money

laundering).

       4.      Specifically, as set forth below, I respectfully submit there is probable cause to

believe that from at least in or around 2015 to in or around 2021, RAFARACI, and others, known

and unknown, knowingly and intentionally conspired and agreed to bribe public officials to benefit

RAFARACI’s company.

       5.




       6.      Lastly, as set forth below, I respectfully submit there is probable cause to believe

that from at least in or around 2015 to in or around 2021, RAFARACI, and others, known and

unknown, intentionally conspired to launder, and in fact laundered,



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                                                  using a network of shell companies and fictitious

transactions to disguise the origins of the                 and to evade U.S. federal income tax

requirements and reporting.

        7.      Except as explicitly set forth below, I have not distinguished in this affidavit

between facts of which I have personal knowledge and facts of which I learned from other law

enforcement agents. Because this affidavit is limited in purpose, I am not including all facts known

to law enforcement concerning this investigation. Instead, I have set forth only those facts that are

necessary to establish probable cause for the complaint sought herein. In addition, where the

contents of documents, or the action, statements, and conversations of others are reported herein,

they are reported in sum and substance, and in part, except where otherwise indicated.

        8.      This Court has jurisdiction to issue the requested warrant pursuant to 18 U.S.C.

§ 3238 (“The trial of all offenses begun or committed…out of the jurisdiction of any particular

State or district, shall be in the district in which the offender…is arrested or is first brought; but if

such offender…[is] not so arrested or brought into any district, an indictment or information may

be filed in the district of the last known residence of the offender…or if no such residence is

known, the indictment or information may be filed in the District of Columbia”); see also 18 U.S.C.

§ 1956(f) (providing for extraterritorial jurisdiction over money laundering conduct if “conduct is

by a United States citizen”).

                                        PROBABLE CAUSE

    A. Relevant Individuals and Entities

        9.      The U.S. Navy operates ships around the world, and hires contractors to assist its

ships with refueling, stocking provisions, and other services. These contractors are known as

“husbanding service providers,” and the services are known as “husbanding services.”



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       10.     MLS is a husbanding service provider for the U.S. Navy based in Malta and the

UAE. Starting in at least as early as 2011, the U.S. Navy engaged MLS to provide husbanding

services to the U.S. Navy at ports worldwide.

       11.     From approximately 2010 to present, the U.S. Navy, other Department of Defense

components, and U.S. government civilian agencies, awarded husbanding services contracts to

MLS worth approximately $1.3 billion.

       12.     The investigation has revealed that MLS’s husbanding business has fewer than 30

employees, and furthermore, that RAFARACI, as the company’s Chief Executive Officer, closely

oversees MLS’s business and employees.

       13.     CC-1 is a U.S. citizen residing in Italy and is the Chairman of MLS’s Board of

Directors.

       14.     CC-2 is or was a U.S. Navy official at various times from in or around October

2006 until in or around December 2017, and from July 2020 to present, CC-2 was a Marine Liaison

Officer for the U.S. Navy Fifth Fleet in Manama, Bahrain. CC-2’s official duties included

supervising ship husbanding services in Bahrain, which included overseeing contractors such as

MLS. CC-2 was at all relevant times a “public official” within the definition of Title 18, United

States Code, Section 201(a)(1).

       15.     CC-3 acts as the chief financial officer for MLS. CC-3 is a citizen/resident of Malta.

   B. The Conspiracy to Commit Bribery

       16.     From in or around 2015 to in or around 2021, MLS, acting through RAFARACI

and other MLS employees, needed to be in regular contact with U.S. Navy officials worldwide to

perform on its husbanding services contracts. In part to gain the approval of U.S. Navy officials,

and to benefit MLS, RAFARACI, CC-1, and others, known and unknown, knowingly and



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intentionally conspired to bribe CC-2.

        17.      CC-2 accepted and agreed to accept a “stream of benefits” of things of value in

return for being corruptly influenced by RAFARACI, CC-1, and others, known and unknown, in

the performance of his official acts, as opportunities arose.

        18.      CC-2 has admitted to his involvement in this conspiracy with RAFARACI; in June

2021, CC-2 pleaded guilty in this District to one count of conspiracy to commit bribery and is

cooperating with the government’s investigation in the hope of obtaining favorable consideration

regarding a potential sentence. CC-2’s criminal case is under seal.1

              a. RAFARACI Pays the First Bribe to CC-2

        19.      On or about July 11, 2015, CC-2 emailed CC-1 with the subject line, “Money,”

writing, “Hello, Hope this e-mail finds you and your family in good health and spirit. Can I please

make a loan out to you for $20,000?”

        20.      On or about August 23, 2015, RAFARACI emailed CC-3, “Dear [CC-3], I’m in

need of USD 20[,]000 cash for MLS Bahrain. Since I will be leaving tomorrow evening, please

collect the cash from the bank and give it to [an individual] Who will be leaving to Dubai on Friday

morning. Please confirm.”

        21.      The following day, on or about August 24, 2015, CC-3 replied by email, “Dear

Frank [RAFARACI] … I have made an order for USD 20,000 with the bank, to be delivered

tomorrow. The Dollars were not available at the bank today. Regards, [CC-3].”

        22.      According to statements made by CC-2 in connection with CC-2’s guilty plea, in

or around August 2015, CC-2 met RAFARACI in the Diplomat Hotel in Manama, Bahrain, where



1
  CC-2 has met with U.S. law enforcement on several occasions, and initially denied that his solicitation and
acceptance of things of value from RAFARACI and MLS was connected to his official duties for the U.S. Navy.


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RAFARACI provided CC-2 with an envelope containing $20,000. CC-2 also indicated that

RAFARACI told CC-2 that he would be in touch, and to “keep up the good work.”

             b. RAFARACI Pays a Second Bribe to CC-2

       23.      On or about March 27, 2018, while CC-2 was employed by the U.S. Army and was

not located in Bahrain, CC-2 emailed CC-1, soliciting a loan for $13,500. CC-1 forwarded this

loan solicitation email to RAFARACI.

       24.      On or about April 20, 2018, CC-2 emailed RAFARACI, “Frank [RAFARACI],

please call me.”

       25.      On or about May 6, 2018, according to statements made by CC-2 in connection

with CC-2’s guilty plea, CC-2 met RAFARACI in a hotel in Miami, Florida. RAFARACI provided

CC-1 with an envelope containing $13,500.

       26.      According to CC-2’s admissions pursuant to his plea agreement, and my review of

emails and government contracting documents, CC-2 solicited the bribes identified above from

RAFARACI and CC-1 with the intent to be influenced in his official duties as Marine Liaison

Officer. The bribes were solicited, and RAFARACI corruptly gave, offered, and promised these

things of value, as part of a course of conduct of favors and gifts flowing to CC-2 in exchange for

a pattern of official acts favorable to RAFARACI and MLS.

       27.      From in or around 2013 to in or around 2021, MLS obtained over $100 million in

U.S. Navy contracts in Bahrain.

   C. The Conspiracy to Commit Wire Fraud Against the U.S. Navy

       28.




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       29.        From at least as early as 2011 to in or around 2018, MLS husbanding services

contracts (“HSCs”) with the U.S. Navy included the following pricing provisions, among others:

             a. The contracts provided for a daily flat-rate husbanding fee that was determined by

                  a competitive bid process whereby the bidders’ fees were disclosed to the U.S.

                  Navy and then set in the awardee’s contract.

             b. The contracts included competitively bid fixed price Contract Line Item Numbers

                  (“CLINs”) for supplies and services typically required to be provided or performed

                  during port visit, such as sewage offload and the provision of potable water.

             c. The contracts included provisions for certain husbanding services that were to be

                  provided “at cost” (“Port Authority Services”). Under these provisions, MLS

                  passed its cost on to the U.S. Navy, and was prohibited from adding any markup to

                  its cost.

             d. The contracts also included provisions for the purchase of services and supplies

                  from local vendors (“non-CLIN items”). Like Port Authority Services, MLS was

                  required to invoice non-CLIN items to the Navy at cost.

             e.




       30.




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31.




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       37.     RAFARACI’s authorization was required for nearly every payment made by MLS

to any major subcontractor, supplier, or port authority, including the payments for Port Authority

Services described above.

       38.




       39.     The U.S. Navy paid and continues to pay MLS for its work on HSCs by transferring

money into MLS’s primary bank account, located in Malta (the “Malta Account”). These payments

are made by wires in interstate and foreign commerce and originate from a Defense Finance

Accounting Service account within the United States. CC-3 is a signatory on the Malta Account,

and RAFARACI controls disbursements from the account.

   D. The Conspiracy to Launder the Proceeds of the Scheme

       40.     From in or around 2015 to in or around 2021, emails and documents collected

during this investigation demonstrate that RAFARACI, CC-1, CC-3, and others known and

unknown, laundered the proceeds of

       from the Malta Account into shell bank accounts for RAFARACI’s personal use. The

purpose of the conspiracy was to conceal and disguise the nature, location, source, ownership, and



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control of the proceeds of the scheme to defraud.2

        41.      As part of this conspiracy, RAFARACI set up and maintained shell companies and

bank accounts in the UAE and elsewhere. From my review of corporate documents and other

records, these companies have no employees and served no legitimate business purpose.

        42.      Sinfonia was a RAFARACI shell company based in the UAE. According to

business registration documents, emails, and invoices I have reviewed, Sinfonia is capitalized

almost exclusively by the transmission of funds from MLS’s corporate accounts in the United

Kingdom and Malta to accounts in the UAE. Each of the transfers, which was connected to a

fraudulent invoice from Sinfonia to MLS, resulted in the use of an international wire to effect the

payment. See generally 18 U.S.C. § 1956(c)(4) (defining “financial transaction”).

        43.      RAFARACI and CC-3 created false invoices from the shell companies, including

Sinfonia, to MLS, which purported to be for providing husbanding services, to substantiate MLS’s

payments to the shell companies, when in fact the shell companies had performed no services.

These invoices were supplied to MLS’s banks to deceive the banks into authorizing payments that

disguised the destination and nature of the transferred funds.

        44.      For example, on or about June 11, 2018, RAFARACI received an email from

Financial Institution 1, a UAE-based financial institution, requesting explanations and backup

documents for several large transfers from the Malta Account and another RAFARACI shell

company into Sinfonia’s account in the UAE.

        45.      RAFARACI forwarded the email to CC-3, “[CC-3], Here we are. What should I

reply? Any idea? I think we better stop for now.” CC-3 replied with draft answers, but cautioned,



2
  Wire fraud is a “specified unlawful activity” for purposes of the money laundering statutes. See 18 U.S.C. § 1956
(c)(7)(A) (incorporating 18 U.S.C. § 1961(1)).


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“the next request will be for copies of the invoices from Sinfonia and MLS Investments.” MLS

Investments is another RAFARACI shell company incorporated in the same manner as Sinfonia.

       46.     After RAFARACI asked for advice on the invoices, CC-3 replied:

       Frank
       I had prepared an invoice listing as we had discussed. I have been making payments
       according to that listing. The ones we have paid so far are those which should have been
       dated 2009 to 2010.

       The invoices have to be issued by MLS Investments Limited and by Sinfonia Limited to MLS
       Gulf LLC. We had discussed using the narrative “Ship support services”.

       Regards
       [CC-3]

       47.     On or about June 26, 2018, CC-3 wrote to RAFARACI, “Attached are the copies

of the requested invoices against which payment of Euro 158,950 was made.” RAFARACI

responded:

       [CC-3]
       There is only one invoice for Sinfonia not matching euro 158950.
       In addition I suggest you change invoice numbers as starting from 1 can be suspicious.
       Start 2018210 for Sinfonia and 2018 608 for MLS investment please.
       Thanks

       48.     On or about August 15, 2018, RAFARACI wrote to CC-3, “Dear [CC-3], Please

pause sending money using [Financial Institution 1]. Too many questions and docs to provide.”

       49.     On or about October 20, 2018, RAFARACI wrote to CC-3, “[CC-3], Did you stop

the transfers? Haven’t received anything.” On or about October 21, 2018, CC-3 wrote back, “Dear

Frank… The last payment may have been delayed. [The Maltese bank] had requested an

explanation of this last payment.”

       50.     On or about October 21, 2018, RAFARACI replied asking if everything had been

worked out with the Maltese bank where the Malta Account was maintained.

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       51.     On or about October 22, 2018, CC-3 wrote to RAFARCI, “Frank[,] I saw your text

this morning showing that the funds were credited to the account of Sinfonia. [The Maltese] bank

are now asking that we provide copies of invoices for the last payment made from MLS to Sinfonia.

Can I proceed with generating invoices for ship support services and passing on to [the Maltese]

bank?” On or about October 23, 2018, RAFARACI replied, “Good morning [CC-3] Yes you can

generate all the invoices you need.”

       52.     On or about December 15, 2019, RAFARACI emailed CC-3, “Dear [CC-3]…

Please transfer to Keep Going programme (KG) AED 5.000.000 by Thursday 26 December.” I

know from other emails and my training and experience that “keep going” and “KG” is

RAFARACI’s code name for the money laundering scheme. I also know that “AED” often refers

to the Emirati dirham, the official currency of the UAE. As of December 2019, 5,000,000 Emirati

dirham would have been worth approximately $1.36 million.

       53.     The money laundering scheme continued until at least 2020. For example, in or

around early 2020, after repeatedly being questioned about the propriety of the transfers to Sinfonia

by Anti-Money Laundering personnel at financial institutions in Malta and the UAE, RAFARACI

began transferring U.S. Navy funds from the Malta Account to Rudis Limited, another

RAFARACI shell company. On or about May 14, 2020, RAFARACI wrote to CC-3, “Try to insert

in same [payment to MLS subcontractor] a payment to Rudis for keep going KG.”

                                         CONCLUSION

       54.     Accordingly, there is probable cause to believe that RAFARACI engaged in

violations of criminal law, specifically one count of 18 U.S.C. § 371 (conspiracy to commit

bribery), one count of 18 U.S.C. § 201 (bribery),

                       and one count of 18 U.S.C. § 1956(h) (conspiracy to commit money



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laundering).

                                               Respectfully submitted,




                                               Cordell DeLaPena
                                               Special Agent
                                               Defense Criminal Investigative Service


Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 on September , 2021.



                                               ____________________________________
                                               HON. ROBIN M. MERIWEATHER
                                               UNITED STATES MAGISTRATE JUDGE




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